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                                  January 29, 2022



BY ECF – VIA FEDERAL DEFENDERS

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

RE:   United States v. Michael Avenatti
      19 Cr. 374 (JMF)

Dear Judge Furman:

      Yesterday evening at 5:05 p.m., defendant provided the Government with his
expected witness list. That list is attached as Exhibit A to this letter. Since that
time, we have identified one additional witness – Ms. Tracey Guest.

       At 5:29 p.m. yesterday, defendant sent the list of witnesses for Monday to the
Government. That list (in order of testimony) was as follows: Mr. Luke Janklow,
Mr. Jason Fischer, Mr. John Dean Barrale, Mr. David Karbley. The Government
asked a question regarding the list at 5:36 p.m. At 5:58 p.m., we informed the
Government that due to a travel conflict, we would call Mr. Justin Loupe before Mr.
Karbley. We also expect to have Mr. Carlos Colorado available to testify on Monday
if needed due to Mr. Karbley’s travel.

      My testimony will likely occur at the end of the defense case.

      I apologize to the Court for any oversight in not providing the witness list to
the Court. In determining whether there was a requirement for me to do so, we
reviewed the Amended Scheduling Order (Dkt. 160) and Your Honor’s Individual
Rules prior to yesterday evening.

                                              Respectfully Submitted,

                                                          /s/
                                              Michael J. Avenatti
                                              Defendant
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              Exhibit A
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By Email – via Federal Defenders


Re:   United States v. Michael Avenatti
      19 Cr. 374 (JMF)


Witness List:

   1. John Dean Barrale
   2. Carlos Colorado
   3. Glendon Crain
   4. John Drum
   5. Jason Fischer
   6. Luke Janklow
   7. David Karbley
   8. Justin Loupe
   9. Richard Marshack
   10. Denver Nicks

Mr. Avenatti reserves the right to testify.


                                               Respectfully submitted,

                                               ______/s/________
                                               Michael J. Avenatti
                                               Defendant
